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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-01557-DDD-STV

  DARREN PATTERSON CHRISTIAN ACADEMY
      Plaintiff,
  v.

  LISA ROY, in her official capacity as Executive Director of the Colorado Department of Early
  Childhood; and

  DAWN ODEAN, in her official capacity as Director of Colorado’s Universal Preschool
  Program,
        Defendants.

                         JOINT MOTION TO FURTHER AMEND
                     JOINT AMENDED SCHEDULING ORDER [ECF 61]

         The parties, through undersigned counsel, move together to amend the Joint Amended

  Scheduling Order dated February 9, 2024 [ECF 61] and as grounds state:

     1. The parties are actively conducting written discovery and are in the process of

         completing depositions of party and non-party witnesses. The non-expert discovery

         cutoff in ECF 61 is presently set for Monday, April 22, 2024 (there are separate expert

         disclosure and discovery deadlines found in ECF 61).

     2. Within the present discovery period, and 20 days before the cutoff, Defendants sought to

         depose three non-party witnesses affiliated with the Plaintiff preschool, and agreed to

         limit them to two hours each. Plaintiff does not object to these depositions as proposed,

         but scheduling was not possible until two business days after the cutoff, on April 24,

         2024. The parties thus jointly seek to enlarge the present cutoff to accommodate these

         three depositions.


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     3. No prior enlargements of this April 22, 2024 (non-expert) discovery cutoff have been

         previously requested, though before that date was set by joint request, there was a non-

         specific cutoff date found in the August 30, 3023 Scheduling Order [ECF 36].

     4. Pursuant to Local Rule 6.1(c), the parties are being served by their respective counsel

         with a copy of this request for enlargement.

         WHEREFORE, the parties ask that the Court enter an order modifying the Joint

  Amended Scheduling Order to allow these three depositions to take place beyond the current

  April 22, 2024 cut off, to be completed on or before April 24, 2024. A courtesy Order to that

  effect is attached hereto.

         Respectfully submitted this April 15, 2024.

   /s/ Ryan Tucker                             /s/ Gregory Whitehair

   ALLIANCE DEFENDING FREEDOM                   COLORADO ATTORNEY GENERAL’S
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        CERTIFICATE OF SERVICE

    I hereby certify that on April 15, 2024, I
    electronically filed the foregoing JOINT
    MOTION TO FURTHER AMEND
    THE JOINT AMENDED
    SCHEDULING ORDER [ECF 61]
    with the Clerk of Court using the
    CM/ECF system. I certify that all
    participants in the case are registered
    CM/ECF users and that service will be
    accomplished by the CM/ECF system:

                   s/ Bonnie Smith




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